Case 1:11-cv-01787-MSK-MJW Document 91-1 Filed 11/20/13 USDC Colorado Page 1 of 1
                                                                                                                                       EXHIBIT A
                              SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                 FOR THE PERIOD BEGINNING :                     October 1, 2013                            AND ENDING:              October 31, 2013

    Name of Debtor: TRILLION PARTNERS, INC.                                                                Case Number:             11-cv-01787-MSK-MJW

                                                                                                               CURRENT
                                                                                                                MONTH

    1. FUNDS AT BEGINNING OF PERIOD                                                                             2 212 816.17        (a)
    1. RECEIPTS:
     A. Customer Collections at Trillion
      B. Customer Collections in Lockbox                                                                        1 798 382.50
     C. Received from Secured Lenders                                                                           1,079,034.50
     D. Other Receipts

    2. TOTAL RECEIPTS                                                                                           2,877,417.00

    TOTAL FUNDS AVAILABLE FOR
       OPERATIONS                                                                                               5,090,233. 17

    3. DISBURSEMENTS
     A    Advertising
      B   Bank /Credit Card Charges                                                                                   327.80
     C    Contract Labor                                                                                           39 351.11
      D   Fixed Asset Payments                                                                                     64 961.43
      E   Insurance                                                                                                 6,718.15
      F   Inventory Payments                                                                                       10 578.01
     G    Leases                                                                                                   59 550.43
     H    Circuits                                                                                                 79,538.20
          Office Supplies                                                                                             119.79
      J   Payroll - Net                                                                                           169 152.58
      K   Professional Fees
     K1          Alvarez & Marsal                                                                                 440,986.44
     K2          McElroy, Deutsch, Mulvaney & Carpenter
     K3          Horowwitz & Burnett, P.C.                                                                         62,324.22
     K4          Wiley Rein                                                                                        83,013.16
     K5          GregVor;j.                                                                                           787.50
     K6          Ford & Harrison
     K7          Real Estate Tax Consultants
     K8          Winstead P.C.
     K9          Grimshaw & Haring
    K1 0         Ewell, Bickham, Brown & Rabb L
    K11          Smith,Angderson,Biount,Dorsett
    K12          Carianne Weston
    K13          Madison Sproul Partners
    K14          Alvarez & Marsal Taxand, LLC
    K15          Brown Rudnick                                                                                    160 000.00
    K16          Lerman Senter                                                                                     22,000.00
      L   Rent                                                                                                        430.99
     M    Repairs & Maintenance                                                                                       209.85
     N    Secured Creditor Payments
     0    Taxes Paid- Payroll                                                                                      77 163.82
      P   Taxes Paid- Sales & Use                                                                                  38112.25
     Q    Taxes Paid- Other                                                                                           877.16
      R   Telephone                                                                                                 1 108.16
     S    Travel & Entertainment
      T   Utilities                                                                                                 8,450.49
     U    Vehicle Expenses                                                                                         16129.86
    U1    Bear Reimbursements                                                                                     567 245.86
    U2    Payroll Contributions                                                                                     7,737.76
    U3 Transfer to Escrow Account on behalf of Secured Creditors                                                  909,644.74
    U4    Disbursement from Vectra Bank to Trillion
    U5    Disbursement from US Bank to Vectra                                                                      288,399.56
     V    Other Operating Expenses                                                                                  33,874.49
     W    Transfer to Receivership Wealth Management Account                                                       884 997.73
     X    Transfer to TX Communications                                                                            777,932.53
    Excess prior months checks cleared over current month checks uncleared                                       (203,470. 30)
    4. TOTAL DISBURSEMENTS (Sum of 3A thru V)                                                                   4,608,253. 77
    5. NET CASH FLOW FOR PERIOD                                                                                (1 '730,836. 77)
    7. ENDING BALANCE (Line 4 Minus Line 6)                                                                        481 '979.40 ( c )
                                                                                       Check                              (0 0 0)


    I declare under penalty or perjurythatthis statement and the accompanying documents and reports are true
    and correct to the best of my knowledge and belief.

    This _ _..;2::;Dt::::.;.h day of _ _ _ _ _ _ __..:..;N:::o..:..ve::;m=b.::;e:..r- - - - - - - ,2013.   sf Byron P. Smyl
                                                                                                                                    (Signature)

    (a) This number is carried forward fi"om last month's report. For the first report only, this number will be the
        balance as of the receivership date.
    (b) This figure will not change fi"om month to month. It is always the amount of funds on hand as of the date of
        the receivership
    (c) These two amounts will always be the same if form is completed correctly.



                                                                                       MOR-16
